   Case 3:01-cr-00737-CC        Document 327       Filed 06/28/05     Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                CRIMINAL 01-0737CCC
 1) ARCADIO DIAZ-DIAZ
 a/k/a Cayito
 2) GABRIEL SANTOS-RODRIGUEZ
 a/k/a Gaby
 3) EDGAR M. MEDINA-SANCHEZ
 4) JOSE R. CINTRON-MARRERO
 5) RICARDO REYES
 Defendants

                                          ORDER
       Before the Court is a Motion for Preliminary Order of Forfeiture filed by the United
States on February 18, 2004 (docket entry 291). In it, movant notes that “[o]n May 7,
2003 and June 18, 2003, the defendants of caption were sentenced to, among other things,
forfeit to the United States $21,000.00, which were the proceeds obtained as a result of the
drug trafficking activities for which they were convicted and/or money received by them to
facilitate the commission of such offense.” Motion, p. 1, ¶ 1. Thus, movant seeks the issuance
of a preliminary order of forfeiture against $21,000 in U.S. currency. Id., at ¶ 2.
       While the United States lists four defendants in the caption of the motion, José R.
Cintrón-Marrero, Arcadio Díaz-Díaz, Gabriel Santos-Rodríguez and Edgar Medina-Sánchez, only
three of them, Díaz-Díaz, Santos-Rodríguez and Medina-Sánchez, fit the description included in
the motion of having been sentenced “on May 7, 2003 and June 18, 2003.” See docket
entries 244, 245 & 258.1 As to these three, the Court had entered an Order of Forfeiture




       1
          Actually, they were sentenced on May 1, 2003 and June 10, 2003, respectively. The
dates to which the United States makes reference are those in which the judgments were filed with
the Clerk. The fourth defendant, José R. Cintrón-Marrero, was sentenced on January 23, 2003
(docket entries 215 & 218).
   Case 3:01-cr-00737-CC      Document 327      Filed 06/28/05   Page 2 of 2




CRIMINAL 01-0737CCC                         2


for the total amount of $21,000.00 on November 15, 2002 (see docket entry 206). Thus,
there is no need to enter another order of forfeiture as to them, as the United States has
requested.
      Accordingly, the United States’ Motion for Preliminary Order of Forfeiture (docket
entry 291) is DENIED as MOOT.
      SO ORDERED.
      At San Juan, Puerto Rico, on June 27, 2005.


                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
